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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
MEG:KDE/KCB                                       271 Cadman Plaza East
F.#2015R00270                                     Brooklyn, New York 11201



                                                  February 10, 2020

By E-mail and ECF

The Honorable Rachel P. Kovner
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Andrew Campos
                     Criminal Docket No. 19-575 (FB)

Dear Judge Kovner:

             The government respectfully submits this letter to notify the Court that, based
upon new information, the government withdraws its motion to revoke the defendant
Andrew Campos’s bond pending further investigation.



                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                           By:            /s/
                                                  Keith D. Edelman
                                                  Kayla C. Bensing
                                                  Assistant U.S. Attorneys
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cc:    Clerk of Court (FB) (by ECF)
       Defense Counsel (by ECF)
